                                                                                                      Electronically Filed - Christian - January 15, 2018 - 11:58 AM
                                                                              18CT-CC00011

             IN THE CIRCUIT COURT OF CHRISTIAN COUNTY, MISSOURI

TAMMY COZART-MCCLURE,                        )
                                             )
                      Plaintiff,             )
                                             )
       v.                                    )       Case No.: ____________________
                                             )
TRACKER MARINE, LLC                          )
d/b/a TRACKER MARINE GROUP,                  )
Serve Registered Agent:                      )
       CT Corporation System                 )
       120 S. Central Ave.                   )
       Clayton, Missouri 63105,              )
                                             )
                      Defendant.             )

                                   PETITION FOR DAMAGES

       COMES NOW P laintiff, Tammy C ozart-McClure, by a nd t hrough he r attorneys o f

record, Hall Ansley P.C., and for her cause of action against Tracker Marine, LLC d/b/a Tracker

Marine Group, states, alleges and avers to the Court as follows:

                                          PLAINTIFF

       1. Plaintiff T ammy C ozart-McClure ( hereinafter “Plaintiff”) is a p erson o f law ful ag e

residing in Springfield, Greene County, Missouri.

                                         DEFENDANT

       2. That at all times here in m entioned, de fendant Tracker Mar ine, LLC d/b/a Tracker

Marine Gr oup (“ Tracker”), was and now is a M issouri company, duly organized and e xisting

under the laws of the State of Missouri, engaged in operating a business manufacturing boats and

boating accessories, with its principal place of business in Springfield, Greene County, Missouri,

and upo n information and belief, was, at all times mentioned herein, act ing by and t hrough its

duly authorized agents and servants and employees, identified herein. Defendant Tracker can be




                                                                                Exhibit A
            Case 6:18-cv-03055-BP Document 1-1 Filed 02/21/18 Page 1 of 8
                                                                                                           Electronically Filed - Christian - January 15, 2018 - 11:58 AM
served through its registered agent, CT Corporation System, 120 S. Central Ave., Clayton,

Missouri 63105.

                                  VENUE AND JURISDICTION

       3.       Venue and jurisdiction are proper in this Court in that plaintiff’s complaint alleges

violation of the Family and Medical Leave Act (“FMLA”), 29 U.S. C.A. § 2601, e t. seq., and all

acts and occurrences complained of herein incurred within Christian County, Missouri.

                                   FACTUAL ALLEGATIONS

       4.       Plaintiff was hi red as a painter by the Defendant in approximately August 2014.

Plaintiff worked f or Defendant full time from approximately August 2014 un til the time of h er

termination from Defendant.

       5.       In May a nd July 2017, P laintiff s uffered from gastritis/epigastric pain wi th

associated wi th naus ea, v omiting, a nd bl ood in her vo mit a nd stoo l. P laintiff provided the

Defendant with medical documentation regarding her need for time off due to this serious health

condition.

       6.       Plaintiff provided a Cert ification of Health Care Provider for E mployee’s Serious

Health Co ndition ( Family a nd Medical L eave Act) related t o her need for leave ( signed by he r

healthcare pro vider) o n or about May 25, 2017.      This cert ification indicated t hat P laintiff was

incapacitated for a cont inuous period from May 18, 2017 until M ay 30, 2017. Pur suant to t he

certification, Plaintiff was prescribed medication that was not over-the-counter.

       7.       Plaintiff e xperienced more complications related to the same condition a nd was

absent from work June 28th and 29th (2017) and the first week in July 2017.

       8.       Plaintiff provided a second Certification o f Health Care Pr ovider for E mployee’s

Serious Health Condition (Family and Medical Leave Act) related to her n eed for leave (signed




             Case 6:18-cv-03055-BP Document 1-1 Filed 02/21/18 Page 2 of 8
                                                                                                            Electronically Filed - Christian - January 15, 2018 - 11:58 AM
by her healthcare pro vider) o n or about July 11, 2017. The certification indicated t hat Plaintiff

was incapacitated on June 28 – 29, 201 7 and that Plaintiff would be permitted to return to work

without restrictions on Ju ly 11, 20 17. P ursuant to t he cert ification, P laintiff was pre scribed

medication that was not over-the-counter.

       9.      Plaintiff’s two requests for FMLA leave were approved by Defendant.

       10.     Defendant maintained a point system whereby employees would accumulate points

prior to disciplinary action or termination. Pursuant to the point system, an employee was

permitted to accumulate six (6) points prior to receiving a suspension and seven (7) points prior

to a termination.

       11.     Plaintiff was ter minated for a lleged attendance issues on or about July 18, 2017.

According to Defendant, Plaintiff had accumulated 7 ½ points as of said date.

       12.     Defendant utilized P laintiff’s absences o n da tes for w hich P laintiff had a pproved

FMLA leave in calculating her points and in terminating her employment for alleged attendance

violations. I n particular, P laintiff believ es De fendant counted dates in May ( mentioned above)

and t he June/July dates ( mentioned a bove) in determining she had reached t he number of points

necessary to terminate her employment.

                                           COUNT I
                                     FMLA INTERFERENCE

       COMES NOW P laintiff, Tammy C ozart-McClure, by a nd t hrough he r attorneys o f

record, Hall Ansley, P.C., and for Count I of her cause of action against Defendant states, alleges

and avers to the Court as follows:

       13.     Plaintiff rest ates, rea lleges a nd re incorporates herein all preced ing paragr aphs o f

this Petition as though they were fully set-forth herein in haec verba.

       14.     Plaintiff was an eligible employee for leave under the FMLA.




            Case 6:18-cv-03055-BP Document 1-1 Filed 02/21/18 Page 3 of 8
                                                                                                         Electronically Filed - Christian - January 15, 2018 - 11:58 AM
        15.    Plaintiff’s was de nied a n opportunity to t ake leave co nsistent with the FMLA in

that her FMLA protected absences were used in terminating her employment.

        16.    Defendant’s conduct rises to a willful violation of the FMLA.

        17.    Defendant interfered, restrained, and denied Plaintiff her rights p ursuant to the

FMLA., more specifically, interfering w ith her r ight to utilize FMLA qualified leave and

terminating her as a result of her use of said leave.

        18.    As a d irect and pr oximate resu lt of the act ions o f Defendant, as descr ibed above,

Plaintiff has suffered and/or is entitled to the following:

                (a)     Lost wages, salary and benefits or other compensation;

                (b)     Interest at the prevailing rate on any wages, salary, employment benefits

                        and/or other com pensation denied o r lost by Plaintiff as a reaso n due to

                        Defendant’s violation of the FMLA; and

                (c)     Liquidated damages equal to the sum of:

                             ( i)       The am ount o f l ost        wages, sa lary,

                               employment benefits or other compensation; and

                             ( ii)      Interest awarded on said monetary damages.

        19.     Pursuant to 29 U.S.C. § 2617, Plaintiff is entitled to and hereby requests an award

of reasonable attorneys’ fees, reaso nable e xpert witness’ fees, pre- judgment and po st-judgment

interest at the highest legal rate, and other costs of the action.

        WHEREFORE, Plaintiff prays for an award of damages against Defendant for an amount

equal to her lost wages, salary and benefits; for interest on said lost wages, salary and benefits at

the highest lawful rate; for liquidated damages equal to the sum of the amount of lost wages,

salary, employment benefits or other compensation as well as interest awarded on said monetary




          Case 6:18-cv-03055-BP Document 1-1 Filed 02/21/18 Page 4 of 8
                                                                                                             Electronically Filed - Christian - January 15, 2018 - 11:58 AM
damages; for reinstatement to her prior position; for an award of attorneys’ fees; for an award of

reasonable expert witness’ fees; f or pr e-judgment and po st-judgment at t he highest lawful rat e;

and for such other and further relief as the Court deems just and proper.

                                             COUNT II
                                         FMLA RETALIATION

         COMES NOW P laintiff, Tammy C ozart-McClure, by a nd t hrough he r attorneys o f

record, Hall Ansley, P.C., and for Count II of her cause of action against Defendant states,

alleges and avers to the Court as follows:

         20.      Plaintiff res tates, reall eges and reincor porates herein all preceding paragraphs o f

this Petition as though they were fully set-forth herein in haec verba.

         21.      Plaintiff was an eligible employee for leave under the FMLA.

         22.      Plaintiff submitted FMLA documentation and sought to use her FMLA qualified

leave.

         23.      Plaintiff was t erminated a fter su bmitting t he FMLA do cumentation and after

attempting to utilize her FMLA protected leave.

         24.      Defendant retaliated again st P laintiff f or e xercise o f her r ights pro vided by the

FMLA.

         25.      As a d irect and pr oximate resu lt of the act ions o f Defendant, as descr ibed above,

Plaintiff has suffered and/or is entitled to the following:

                   (a)    Lost wages, salary and benefits or other compensation;

                   (b)    Interest at the prevailing rate on any wages, salary, employment benefits

                          and/or other com pensation denied o r lost by Plaintiff as a reaso n due to

                          Defendant’s violation of the FMLA; and

                   (c)    Liquidated damages equal to the sum of:




               Case 6:18-cv-03055-BP Document 1-1 Filed 02/21/18 Page 5 of 8
                                                                                                        Electronically Filed - Christian - January 15, 2018 - 11:58 AM
                             ( i)       The am ount o f l ost        wages, sa lary,

                               employment benefits or other compensation; and

                             ( ii)      Interest awarded on said monetary damages.

        26.     Pursuant to 29 U.S.C. § 2617, Plaintiff is entitled to and hereby requests an award

of reasonable attorneys’ fees, reaso nable e xpert witness’ fees, pre- judgment and po st-judgment

interest at the highest legal rate, and other costs of the action.

        WHEREFORE, Plaintiff prays for an award of damages against Defendant for an amount

equal to her lost wages, salary and benefits; for interest on said lost wages, salary and benefits at

the highest lawful rate; for liquidated damages equal to the sum of the amount of lost wages,

salary, employment benefits or other compensation as well as interest awarded on said monetary

damages; for reinstatement to her prior position; for an award of attorneys’ fees; for an award of

reasonable expert witness’ fees; f or pr e-judgment and po st-judgment at t he highest lawful rat e;

and for such other and further relief as the Court deems just and proper.

                                                HALL ANSLEY,
                                                A Professional Corporation

                                        By: /s/ Benjamin A. Stringer
                                               BENJAMIN A. STRINGER
                                               Missouri Bar Number 50415
                                               TIMOTHY A. RICKER
                                               Missouri Bar Number 62050

                                        3275 East Ridgeview
                                        Springfield, MO 65808
                                        Telephone:     417/890-8700
                                        Facsimile:     417/890-8855
                                        Email: bstringer@hallansley.com
                                        Email: tricker@hallansley.com

                                         Attorneys for Plaintiff


                                                                                       Exhibit A




          Case 6:18-cv-03055-BP Document 1-1 Filed 02/21/18 Page 6 of 8
             IN THE 38TH JUDICIAL CIRCUIT COURT, CHRISTIAN COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 18CT-CC00011
 JENNIFER R GROWCOCK
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 TAMMY COZART-MCCLURE                                               BENJAMIN A. STRINGER
                                                                    3275 EAST RIDGEVIEW
                                                                    PO BOX 4609
                                                              vs.   SPRINGFIELD, MO 65808
 Defendant/Respondent:                                              Court Address:
 TRACKER MARINE, LLC D/B/A TRACKER                                  110 WEST ELM STREET, SUITE 202
 MARINE GROUP                                                       OZARK, MO 65721
 Nature of Suit:
 CC Employmnt Discrmntn 213.111                                                                                                       (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: TRACKER MARINE, LLC D/B/A TRACKER MARINE GROUP
                                      Alias:
  CT CORPORATION SYSTEM
  120 S. CENTRAL AVE.
  CLAYTON, MO 63105

        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                        _______1-16-18________________________          ___________/S/ BH____________________________________________
                                                      Date                                                       Clerk
      CHRISTIAN COUNTY                 Further Information:

                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (SMCC) For Court Use Only: Document Id # 18-SMCC-15                     1 of 1                 Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                          Case 6:18-cv-03055-BP Document 1-1 Filed 02/21/18     Page
                                                                        54.13, and 54.20; 7 of 8– 506.140, and 506.150 RSMo
                                                                                          506.120
Electronically Filed - Christian - February 01, 2018 - 02:59 PM




                                                                  Case 6:18-cv-03055-BP Document 1-1 Filed 02/21/18 Page 8 of 8
